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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                No. 21 CR 371
              v.
                                                Judge Matthew F. Kennelly
 VIVIANNA LOPEZ, et al.

                            JOINT STATUS REPORT

      Defendant Vivianna Lopez, defendant Valerie Gaytan, and the government

hereby submit the following report on the status of the case:

      1.     The above-listed parties are all available to conduct the second day of

the evidentiary hearing on July 26, 2022.

      2.     Defendants Lopez and Gaytan request that all witnesses testify by

video. The government requests that local witnesses testify in person, as well as any

non-local witnesses who prefer to testify in person.

      3.     Based on the scope of the proffered testimony set forth in defendant

Lopez’s submission, the government does not object under the Touhy regulations to

Lopez calling as witnesses the two listed former prosecutors.




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                                     Respectfully submitted,

                                     JOHN R. LAUSCH, JR.
                                     United States Attorney

                              By:    /s/ Andrew C. Erskine
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Dated: May 31, 2022




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